                              150ThirdAvenueSouth
                                                                                  www.pnfp.com
                              Suite900
                              Nashville,TN37201                                 Phone800Ͳ264Ͳ3613

                                                                                  Account
RETURNSERVICEREQUESTED                                                          LivingscapesLLC
                                                                                  XXXXXXXX1236




                            LivingscapesLLC
                            DebtorInPossession
                            148StonecrestDrive
                            Nashville,TN372095236




StatementofAccount                                                                                   Horizon75


 Balance1/01/21                    Summary
 $53,498.22
                                         Credits         + $39,365.25
 Balance1/31/21                   Interest        + $.00
 $35,041.89                       Debits          Ͳ $57,821.58

CreditTransactions
Deposits
1/05         INTUITPYMTSOLNDEPOSIT524771992494446          80.00
             9215986202LIVINGSCAPESINC
1/05         RegularDeposit                                 15,425.50
1/14         INTUITPYMTSOLNDEPOSIT524771992494446        6,018.25
             9215986202LIVINGSCAPESINC
1/15         INTUITPYMTSOLNDEPOSIT524771992494446        1,416.00
             9215986202LIVINGSCAPESINC
1/19         INTUITPYMTSOLNDEPOSIT524771992494446          55.00
             9215986202LIVINGSCAPESINC
1/19         INTUITPYMTSOLNDEPOSIT524771992494446         960.00
             9215986202LIVINGSCAPESINC
1/19         INTUITPYMTSOLNDEPOSIT524771992494446        1,867.50
             9215986202LIVINGSCAPESINC
1/19         INTUITPYMTSOLNDEPOSIT524771992494446        1,929.00
             9215986202LIVINGSCAPESINC
1/20         INTUITPYMTSOLNDEPOSIT524771992494446         630.00
             9215986202LIVINGSCAPESINC
1/22         INTUITPYMTSOLNDEPOSIT524771992494446         305.00
             9215986202LIVINGSCAPESINC
1/25         INTUITPYMTSOLNDEPOSIT524771992494446          90.00
             9215986202LIVINGSCAPESINC




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1/25            INTUITPYMTSOLNDEPOSIT5247719924944469215986202LIVINGSCAPESINC        130.00
1/27            INTUITPYMTSOLNDEPOSIT5247719924944469215986202LIVINGSCAPESINC       1,105.00
1/29            RegularDeposit                                                              9,354.00
TotalCredits                                                                                  $39,365.25


DebitTransactions
OtherDebits
1/04            1600AmphitheatrePGoogleLLCGSUIMountainViewCA010321Card#2282          6.75
1/04            FLYINGJ#720FAIRVIEWTN010121100173890936Card#2282                         8.11
1/04            SHELLSERVICESNASHVILLETN010121100108723391Card#2282                      9.01
1/04            SHELLSERVICESNASHVILLETN010321100343804474Card#2282                     29.84
1/04            WalͲMartSuperCNASHVILLE(W)TN010221820777Card#2282                      33.61
1/04            5600CHARLOTTEPIKEWALGREENS#4707NASHVILLETN123120Card#2282             43.37
1/04            899HeathrowParkLVERIZON*TELESAL800Ͳ922Ͳ0204FL010321Card#2282          50.87
1/04            2431HIGHWAY46SCOLTONSͲDICKSDICKSONTN010121Card#2282                 59.10
1/04            DOLLARGENERAL1NASHVILLETN010321024209Card#2282                          66.85
1/04            22Ͳ24BoulevardRoyaeBayO*22Ͳ06329LuxembourgLUX123120Card#2282         777.48
1/04            OLBTransferfrom*236to*655Transfer                                      1,000.00
1/04            22Ͳ24BoulevardRoyaLuxembourgLUX123120Card#2282                           1.55
1/04            22Ͳ24BoulevardRoyaLuxembourgLUX123120Card#2282                           6.99
1/05            SHELLSERVICESNASHVILLETN010521100578562857Card#2282                     15.70
1/05            INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC         .80
1/06            TROLLEYROCKTRUBELVIDERETN010621795269Card#2282                          12.85
1/06            LOWE'S#6297034CHARLNASHVILLETN010521046234Card#2282                   108.79
1/06            PENNNATIONALINRECURPMTS8000271667C230961349LIVINGSTONJAMES     117.50
1/06            WASTEMANAGEMENTINTERNET9049038216SLIVINGSTONJAMES                    163.35
1/06            SAMARAFARMSLLCSALE9215986202SJAMESLIVINGSTON                       1,442.00
1/07            OLBTransferfrom*236to*655Transfer                                      5,600.00
1/07            MOBILEMINI80045617511860748362JAMESLIVINGSTON                     113.84
1/08            440TerryAveNAmazon.com*G69NAmzn.com/billWA010721Card#2282             54.37
1/11            THORNTONS#0608Ͳ7102NASHVILLETN011121000000587048Card#2282              20.27
1/11            440TerryAveNAMZNMktpUS*LPAmzn.com/billWA010921Card#2282             52.43
1/11            211SAkardRm1210ATT*BILLPAYMEN800Ͳ288Ͳ2020TX010821Card#2282          64.20
1/11            4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN010821Card#2282         221.23
1/12            4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN011121Card#2282         221.23
1/12            MOBILEMINI80045617511860748362JAMESLIVINGSTON                     153.67
1/13            845BELLRDIN*GLBFINANCI615Ͳ5330817TN011221Card#2282                  350.00
1/13            OLBTransferfrom*236to*655Transfer                                      9,400.00
1/14            5304HARDINGPIKEHARTACEHDWENASHVILLETN011321Card#2282                  1.64
1/14            INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC        71.20
1/14            MOBILEMINI80045617511860748362JAMESLIVINGSTON                     143.42
1/15            4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN011421Card#2282         442.46
1/15            4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN011421Card#2282         442.46




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1/15        1883LewisburgPikeSQ*M&MLAWNCFranklinTN011421Card#2282           600.00
1/15        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC      14.16
1/19        6401CENTENNIALBLVLIVINGEARTHCENASHVILLETN011421Card#2282            6.08
1/19        5310HARDINGPIKEWHITTSBBQHARDNASHVILLETN011821Card#2282              7.70
1/19        6401CENTENNIALBLVLIVINGEARTHCENASHVILLETN011521Card#2282           18.56
1/19        5304HARDINGPIKEHARTACEHDWENASHVILLETN011821Card#2282              124.40
1/19        60051STAVENTennesseeContr615Ͳ292Ͳ2989TN011821Card#2282            152.95
1/19        DICKENSTURFANDNASHVILLETN011921002455Card#2282                       182.08
1/19        139HUNTINGTONPLIN*SNARKMEDIA615Ͳ6969119TN011821Card#2282          396.00
1/19        4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN011521Card#2282       555.54
1/19        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC       .55
1/19        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC       9.60
1/19        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC      10.00
1/19        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC      11.30
1/20        WENDYS607NASHVILLETN012021425437Card#2282                               4.37
1/20        6401CENTENNIALBLVLIVINGEARTHCENASHVILLETN011821Card#2282           14.08
1/20        440TERRYAVENAMZNMKTPUS*Z5AMZN.COM/BILLWA011921Card#2282           53.56
1/20        4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN011921Card#2282        61.45
1/20        4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN011921Card#2282        81.94
1/20        NAPASTORE51200NASHVILLETN012021930250Card#2282                       183.28
1/20        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC       6.30
1/21        4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN012021Card#2282        24.58
1/21        80ROTECHDRCLASSIC&PERFO716Ͳ759Ͳ1800NY011921Card#2282               92.20
1/21        2700BelmontBoulevSQ*MARTIN'SBANashvilleTN012021Card#2282          129.65
1/21        60051STAVENTennesseeContr615Ͳ292Ͳ2989TN012021Card#2282            152.95
1/21        4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN012021Card#2282       221.23
1/21        OLBTransferfrom*236to*655Transfer                                   10,600.00
1/22        SHELLSERVICESNASHVILLETN012121102178566006Card#2282                   22.18
1/22        MAPCO3219NASHVILLETN012221005607Card#2282                              24.30
1/22        80ROTECHDRCLASSIC&PERFO716Ͳ759Ͳ1800NY012021Card#2282               28.79
1/22        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC       3.05
1/22        SAMARAFARMSLLCSALE9215986202SJAMESLIVINGSTON                     2,628.00
1/25        6401CENTENNIALBLVLIVINGEARTHCENASHVILLETN012221Card#2282            8.00
1/25        6401CENTENNIALBLVLIVINGEARTHCENASHVILLETN012221Card#2282           15.36
1/25        6401CENTENNIALBLVLIVINGEARTHCENASHVILLETN012221Card#2282           16.32
1/25        7700EASTPORTPARKWPAYPAL*GOODPAR4029357733PA012221Card#2282         326.56
1/25        3716DICKERSONPIKEALLBROTHERSTRNASHVILLETN012221Card#2282          913.84
1/25        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC       .90
1/25        INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC       1.30
1/25        VENMOPAYMENT3264681992SJAMESLIVINGSTON                   215.00
1/26        6000CHARLOTTEPIKENAPASTORE5120NASHVILLETN012521Card#2282            5.45
1/26        6401CHARLOTTEPIKERICHLANDHARDWANASHVILLETN012521Card#2282           12.02
1/26        5714CHARLOTTEPIKEO'REILLYAUTOPNASHVILLETN012521Card#2282           30.57
1/26        3901CLARKSVILLEPIKTEXACOXPRESSLNASHVILLETN012521Card#2282          37.15




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1/26            3901CLARKSVILLEPIKTEXACOXPRESSLNASHVILLETN012521Card#2282                        53.53
1/26            5714CHARLOTTEPIKEO'REILLYAUTOPNASHVILLETN012521Card#2282                        197.56
1/26            899HeathrowParkLnVZWRLSS*MYVZV800Ͳ922Ͳ0204FL012621Card#2282                    255.19
1/26            PENNNATIONALINRECURPMTS3100193796C230961349LIVINGSCAPESINC                1,549.97
1/27            AUTOZONE1007MURFREENASHVILLETN012721012712518280Card#2282                          10.91
1/27            DUCKWELD311WILHAGANNASHVILLETN012721012716102404Card#2282                          49.16
1/27            6214CHARLOTTEPIKEDISCOUNTͲTIREͲTNASHVILLETN012621Card#2282                         90.90
1/27            INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC                    10.00
1/28            WALGREENS5301HARDINGNASHVILLETN012721012717404965Card#2282                          88.07
1/28            3500NMOUNTJULIETWESTWILSONFAMMOUNTJULIETTN012621Card#2282                     123.63
1/29            440TerryAveNPrimeVideo*RS1888Ͳ802Ͳ3080WA012821Card#2282                           3.27
1/29            6930CHARLOTTEPIKEWAFFLEHOUSE03NASHVILLETN012821Card#2282                         52.25
1/29            628OLDHICKORYBLVIN*STONETREEM615Ͳ6462208TN012821Card#2282                      441.00
1/29            OLBTransferfrom*236to*655Transfer                                                  7,000.00
1/29            ServiceCharge                                                                             15.50

Checks
1/08            Check945                                                                                     1,175.00
1/11            Check946                                                                                     1,100.00
1/13            Check947                                                                                        675.00
1/20            Check948                                                                                        504.00
1/08            Check949                                                                                     2,100.00
1/13            Check950                                                                                     1,716.40
1/25            Check951                                                                                     1,300.00
TotalDebits                                                                                               $57,821.58
(*)Indicatesgapinchecknumbersequenece


AverageBalanceThisStatement                            $46,860.82   AnnualPercentageYieldEarned                .00%

InterestEarnedThisPeriod                                     $.00   DaysinPeriod                                   31

InterestPaidYeartoDate                                      $.00   InterestPaid                                  $.00



DAILYBALANCEINFORMATION
1/01                             53,498.22    1/12                     54,172.96       1/22                   37,186.30
1/04                             51,404.69    1/13                     42,031.56       1/25                   34,609.02
1/05                             66,893.69    1/14                     47,833.55       1/26                   32,467.58
1/06                             65,049.20    1/15                     47,750.47       1/27                   33,411.61
1/07                             59,335.36    1/19                     51,087.21       1/28                   33,199.91
1/08                             56,005.99    1/20                     50,808.23       1/29                   35,041.89
1/11                             54,547.86    1/21                     39,587.62




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                                                                    PrimaryAcctNo.    XXXXXXXX1236




         #0             01/05/2021      $15,425.50    #0          01/29/2021           $9,354.00




         #945           01/08/2021       $1,175.00    #946        01/11/2021           $1,100.00




         #947           01/13/2021        $675.00     #948        01/20/2021            $504.00




         #949           01/08/2021       $2,100.00    #950        01/13/2021           $1,716.40




         #951           01/25/2021       $1,300.00




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